                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )          No. 3:05-CR-103
                                                    )          (JORDAN/SHIRLEY)
VICTOR E. MOORE,                                    )
also known as “DANGO,”                              )
                                                    )
                      Defendant.                    )




                                MEMORANDUM AND ORDER

               The parties appeared before the undersigned on September 27, 2005, for a hearing

on the Motion for Substitution of Counsel [Doc. 12] filed on September 21, 2005, by Assistant

Federal Defender Jonathan Moffatt, appointed attorney for Defendant Victor Moore. Mr.

Moffatt was present along with CJA training panelist Robert Rogers for the defendant, and

Assistant United States Attorney Michael Winck appeared on behalf of the government. The

defendant was also present.

               At the hearing, Mr. Moffatt argued that the Federal Defenders Services of East

Tennessee (FDSET), for whom he works, had a conflict in representing Defendant Moore. He

intimated that the Knoxville office of FDSET had represented a client whose representation

would present a conflict as to Defendant Moore. He stated that Defendant Moore had been

notified of the conflict and that when he had spoken with the defendant, the defendant did not

object to Mr. Moffatt withdrawing from the case. The government stated it was aware of the

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conflict, confirmed the existence of an actual conflict, and agreed with Attorney Moffatt’s

position. Mr. Moffatt stated that he believed it would be in Defendant Moore’s best interest that

a new attorney be appointed at this time. Defendant Moore stated, in court, that he agreed to the

withdrawal of Attorney Moffatt and the appointment of a new attorney.

               The Sixth Amendment right to counsel encompasses the right to have an attorney

who does not have a conflict arising from simultaneous representation of clients with conflicting

interests. See Glasser v. United States, 315 U.S. 60, 70 (1942). Although the Court “must

recognize a presumption in favor of [the defendant’s] counsel of choice, . . . that presumption

may be overcome not only by a demonstration of actual conflict but by a showing of a serious

potential for conflict.” Wheat v. United States, 486 U.S. 153, 160 (1988). “‘[W]hen a trial court

becomes aware of a potential conflict of interest, it is obligated to pursue the matter even if

counsel does not.’” United States v. Straughter, 950 F.2d 1223, 1233 (6th Cir. 1991) (quoting

United States v. Krebs, 788 F.2d 1166, 1172 (6th Cir. 1986)). Indeed, a court may conclude

disqualification is necessary even if the defendant offers to waive the conflict because of its

independent interest in assuring the ethical standards of the profession and the appearance of

fairness to those observing legal proceedings. Wheat, 486 U.S. at 160.

               In light of the fact that all counsel and the defendant agreed that a conflict exists, I

find that good cause exists to grant defense counsel’s Motion for Substitution of Counsel [Doc.

12], the same is GRANTED, and Mr. Moffatt is relieved as counsel for the defendant. See

Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985) (holding that a defendant seeking to

substitute counsel must show good cause). The Court recognizes the need for the defendant to

be continuously represented by conflict-free counsel. Also at the September 27, 2005 hearing,


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Attorney Boyd Venable appeared and agreed to accept representation of the defendant The

Court therefore and hereby substitutes and appoints Mr. Venable under the Civil Justice Act

(CJA) as counsel of record for Defendant Moore. Attorney Rogers of the CJA training panel

will be permitted to continue to represent the defendant. Attorney Venable acknowledged that

he was aware of the trial date and pretrial conference date, and he expressed no present problem

with the motion deadline.

              IT IS SO ORDERED.

                                                    ENTER:



                                                      s/ C. Clifford Shirley, Jr.
                                                    United States Magistrate Judge




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